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IN THE UNITED STATES DISTRICT COURT
F()R THE SOUTHERN DISTIRCT OF FL()RIDA

F()RT PIERCE DIVISION
LISA ANN ORSHOWITZ,
Plaintiff,
Case No.
v.
PLAINTIFF DEMANDS
TRIAL BY JURY
DON DAPPEN,

)

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)

)

)

)

)

)
TROY W. MQRRIS, )
CHADWICK E. WAGNER, )
KENNETH PACHNEK, )
JOHN M. RUTHERFORD, )
JAMES BROWN_, )
DAVID DEES, )
GRAHAM W. FOUNTAIN, )
AL LAMBERTY, )
JENNY NNER, )
JACK PARKER, )
ROBERT CROWDER, )
FRED 0. DICKINSON, )
ELECTRA THEODORIDES - BUSTLE, )
JULIE J. JONES, )
GERALD M. BAILEY, )
DERYL B. LOAR, )
RIC L. BRADSHAW, )
JAMES 0. FITZGERALD, )
JOHN BOLDUC, )
KEN J. MASCARA, )
SADIE DARNELL, )
FRANKLIN ADDERLEY, )
R. SEAN BALDWIN, )
DAVID HOBBS, )
BRIAN N. LAMB, )
LARRY CAMPBELL, )
W. BRAD STEUBE, )
KEITH F. DUNN, )
ROBERT P. PERYAM, )
ROBERT DANIELS, )
LARRY R. ASHLEY, )
PAUL C. MAY, )
vAL DEMINGS, )
DOUG MULDGON, )

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W. HOWARD HARRISON, )
JIM COATS, )
MICHAEL RADZILOWSKL )
COREY JAMES WARREN, )
MICHAEL J. SKOUMAL, )
BRETT LOCKHART, )
DOUG LASHBROOK, )
MICHAEL ALLEN MENGHI, )
MICHAEL WEINER, )
MOHAMMAD RAZI, )
SCOTT MUELLER, )
SCOTT WHITTOM, )
THOMAS E. DEMERR;TTE, )
WILLIAM ALAN O’HARA, )
WILLIAM HAWLEY, )
MARK D. ALSTON, )
PAT S. CHUAINDHARA, )
ROY GARDIEN, )
ER;K B. HELLSTROM, )
JUSTIN C. ASBURY, )
SCOTT B. KEITH, )
EUGENE BREWER, )
.EUGENE HOOVER, )
JEFFREY B):SSAINTHE, )
JAMES E. GILBERT, )
JAY ANTHONY FRAK)LI, )
MANUEL JIMENEZ, )
SUSAN M. JOSEPHSON, )
ADAM M. HEINLEIN, )
IRAN SANDOVAL, )
MELANIE A. THOMPSON, )
QUATELI@US MOSLEY, )
KENNETH GREEN, )
RONALD GENE COOPER, )
ELMO R. WILLIAMS, )
KAREN HOWARI), )
STEVEN R. HOWARD, )
ERIC J. LAKS, )
JESSICA FUENTES, )
JESUS HERNANDEZ, )
MICHELLE A. TRUYC)L, )
SCOTT EDWARD HULL, )
THOMAS D. FLICKINGER, )
CHARLES C. GRANT, )
MARCUS R. BROWN, )
ROBERT V. FREEBERN, )

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THOMAS W. HANSEN, )
DAVID A. SIMS, )
DEBRA SENECAL, )
JOSEPH A. FABIANO, )
GREGORY L. SHUMAN, )
J<)SEPH R. RUGGERL )
MARCOS A. CAPO, )
MARILYN SERRANO, )
MARK THOMAS MCGLYNN, )
MEREDITH L. JACOBS, )
ODILEINIS GIBSON, )
RANDALL D. KRAUSS, )
ROBERT A. BOODY III, )
RUDY 'REGIS, )
RYAN W. LLOYD, )
TOMMY RGDRIGUEZ, )
TONY RAY KINGERY, )
WILLIAM THOMAS GODWIN, )
ADOLFO TORRES, )
ERIC J. DEVAUL, )
RUI PATmCo, )
STEPHANIE M. MANUS, )
MELVIN P. WASmNGTON, )
ROBERT W. HARRJGILL, )
RICHARD WAYNE GILL, )
MICHAEL STEPHEN EYES, )
BEN F. MILLER, )
FELICE R. LEE, )
JANET GONZALEZ, )
DAVID A. BOEHM, )
PATRICK WLLLIAM MORRISEY, )
JIMMIE DEAN HGBBY, )
ROBERT E. JARVIS JR, )
CARLOS L. RUIZ, )
MATTHEW J. MIHM, )
GREGQRY T. MITCHELL, )
DAVID MCINTURFF, )
EDWARD POPE, )
ROBERT L. CROUCH, )
):)AVID EDWARD DUPONT, )
MICHAEL S. CROSS, )
LAURIE A. WILLIAMS, )
WH;LIAM MCHAEL SHOGRAN, )
MICHAEL C. TRANSUE, )
ALVAR€) AT):LIO _FEOLA, )
FAREED SHAWQI SALEH, )

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FRANNY MAURANCY,
KU\/.[BERLY RENEE NEWSOME,
MICHAEL JGSEPH FOTI,
RAMON FERNANDEZ JR.,
DAVID FRYE,

EDLYN ROZSA,

LESLEY MARIE HOLT,
MARY A. KELLENBERGER,
MICHAEL VINCENT OPORTO,
PAMELA J. WYATT,

JORGE J. DIAZ,

KELLY M. HILDRETH,
W]LLIAM CAPP,
DAVIDJOHN GROSS,

GARY GRUNFELDER,

GREG ARTHUR HERMANCE,
JANYRES VASQUEZ,
JANICE SOTO,

LEONARD GERVASIO,
SHERRY D. KINDALL,
MARK RUSSELL DeBORD,

P. NOAH CAMERON,

SEAN KELLY,

DANIEL GILROY,

WILLIAM C. CASH,

SCOTT MITCHELL ELLIOTT,
A`NDREW BARTUCCELLI,
PAUL V]NCENT VOUTOUR,
KEVIN L. HAUFFMASTER,
RICHARD SESSIONS,

PAUL S. PRUETT,

JASON W[LLIAM RILEY,
GEORGE GROSE,

SCOTT BUNDY,

ANGELO J. MINELLA,
CEDRIC GUY HUMPRHEY,
DALE K. HOWARD,

DAVID MICHAEL WILLIAM WILSON,
EDGAR DAVID HOLCOMB,
EUGENE ARNOLD HOOVER,
GARY RICHARD BACH,
GEORGE A. HERRSCHAFT,
GEORGE DANIEL YACOBELLIS,
GEORGE W¢ BECKWITH IU,
JAMES J. WARREN,

JAMES RICHARD PLATAK,

WWV\_/V\/\J\_/\/\/\./\/\/\./\./\./\_/\'/\/\_/\_/\J\'/\/\_/\_/\_/\/\/\/\/\./\./\_/\'/V\./\_/\_/\_/VVV\/VW

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KENNETH SHERROD PICKERING, )
LAUREN KATHLEEN HINES, )
LESLIE A. BEATH, )
MARY J. ELLER, )
mCI-IAEL JOSEPH DOUGHERTY, )
MICHELLE ELAINE HOLCOMB, )
PHILLIP J. OATES IH, )
ROBERT L. PRYOR, )
R<:)BERT PIERCE, )
SHAWN PATRICK FLEMING, )
STEPHEN EDWARJ_) WTNEGARD H, )
THOMAS A. RANDAZZO, )
THOMAS ARTHUR CUTY, )
TODD BAINER, )
TRAVIS ARN()LD DYKES, )
DENNIS LOYD DA\/ls, )
MICHAEL ALAN GUITIE_RREZ, )
DAVJ;D R. DRENNAN, )
EDGAR L. JOHNSTON JR., )
SAMUEL L. GAM, )
THOMAS P. BGWMAN, )
DALE R. LA FLAM, )
DAVID MCK;INNON, )
WILLLAM DEBUSK, )
BARBARA E. WEISS, )
MATHEW BORUT, )
KENNETH G. JENKINS, )
JIM DILLON, )
CURTIS HAMPTON, )
ANTHONY ROMAN:, )
CALVIN KING, )
CHRISTOPHER KNEH)EL, )
COSTONYA SHANE FREEMAN, )
DAVID BUTTERWORTH, )
JERRY ROBERTS n, )
JORGE CARVAJAL, )
MATTHEW JAMES WOOD, )
MIHELLE NEILD, )
R<)BERT DANIEL vOEGTLIN, )
REGGIE WITTEY, )
CRAIG ORTMAN, )
DAVID sMITH, )
HEATHER TUCKER, )
JENNIFER L. WATERS, )
LELAND SQUIRES, )
PATRICIA BECKER, )

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SERGIO LOPEZ ALERS, )
VINCENT BONAGURA, )
WILL:AM F. MlLLER, )
KYLE BENJAMIN KUEHN, )
ALACHUA CC)UNTY, )
cITY OF BRADENTON, )
BREVARD COUNTY, )
BROWARD COUNTY, )
CITY OF FORT LAUDERDALE, )
CITY OF FORT PIERCE, )
CITY 0F HOLLYWC)OD, )
TOWN oF INDIALANTIC, )
INDIAN Rl\/ER COUNTY, )
JACKSQNVILLE COUNTY, )
JEFFERSON COUNTY, )
LAFAYETTE COUNTY, )
CITY OF LAUDERHILL, )
LE<)N COUNTY, )
MANATEE COUNTY, )
MARTIN COUNTY, )
C):TY OF M:RAMAR, )
MONROE COUNTY, )
NORTH BAY vILLAGE, )
OKALOOSA COUNTY, )
OKEECHOBEE COUNTY, )
CITY OF ORLANDO, )
CITY OF PALM BAY, )
PALM BEACH COUNTY, )
CITY 0F PALM BEACH GARDENS, )
PINELLAS cc)UNTY, )
CITY OF PLANTATION, )
CITY 0F PORT SAINT LUCIE, )
SAINT LUCIE COUNTY, )
CITY OF vERO BEACH, )
and UNKNOWN DEFENDANTS, )

)

)

Defendants.
§QBIPLAINT
Plaintiff, LISA ANN ORSHOWITZ (“Orshowitz”), by and though her undersigned
attomeys, complains against Defendants, DON DAPPEN, TROY W. MORRIS, CHADWICK E.

WAGNER, KENNETH PACHNEK, JOHN M. RUTHERFORD, JAMES BROWN, DAVID

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DEES, GRAHAM W. FOUNTAIN, AL LAMBERTY, JENNY NIMER, JACK PARKER,
ROBERT CROWDER, FRED C). DICKINSON, ELECTRA 'I`HEODORIDES ~ BUSTLE,
JULIE J. JONES, GERALD M. BAILEY, DERYL B. LOAR, RIC L. BRADSHAW, JAMES 0.
FITZGERALD, JOHN BOLDUC, KEN J. MASCARA, SADIE DARNELL, FRANKLIN
ADDERLEY, R. SEAN BALDWIN, DAVID HOBBS, BRIAN N. LAMB, LARRY
CAMPBELL, W. BRAD STEUBE, KEITH F. DUNN, ROBERT P. PERYAM, ROBERT
DANIELS, LARRY R. ASHLEY, PAUL C. MAY, VAL DEMINGS, DOUG MULDOON, W.
HOWARD HARRISON, JIM COATS, MICHAEL RADZILOWSKI, COREY JAMES
WARREN, l\/HCHAEL J. SKOUMAL, BRETT LOCKHART, DOUG LASHBROOK,
MICHAEL ALLEN MENGHI, MICHAEL WEINER, MOHAMMAD RAZI, SCOTT
MUELLER, SCOTT WHITTOM_, THOMAS E. DEMERRITTE, WILLIAM ALAN O’HARA,
WILLIAM HAWLEY, MARK D. ALSTON, PAT S. CHUAINDHARA, ROY GAR.DIEN,
ERIK B. HELLSTROM, JUSTIN C. ASBURY, SCOTT B. KEITH, EUGENE BREWER,
EUGENE HOOVER, JEFFREY BISSAINTHE, JAMES E. GILBERT, JAY ANTHONY
FRAIGLI, MANUEL HMENEZ, SUSAN M. JOSEPHSON, ADAM M. HEINLEIN, IRAN
SANDOVAL, MELANIE A. THOMPSON, QUATELIOUS MOSLEY, KENNETH GREEN,
RONALD GENE COOPER, ELMO R. WILLIAMS, KAREN HOWARD, STEVEN R.
HOWARD, ERIC J. LAKS, JESSICA FUENTES, JESUS HERNANDEZ, MICHELLE A.
TRUYOL, SCOTT EDWARD HULL, THOMAS D. FLICKINGER, CHARLES C. GRANT,
MARCUS R. BROWN, ROBERT V. FREEBERN, THOMAS W. HANSEN, DAVID A. SIMS,
DEBRA SENECAL, JOSEPH A. FABIANO, GREGORY L. SHUMAN, JOSEPH R.
RUGGERI, MARCOS A. CAPO, MARILYN SERRANO, MARK THOMAS MCGLYNN,

MEREDITH L. JACOBS, ODILEINIS GIBSON, RANDALL D. KRAUSS, ROBERT A.

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BOODY III, RUDY REGIS, RYAN W. LLOYD, TOMMY RODRIGUEZ, TONY RAY
KINGERY,WILLIAM THOMAS GODW]N, ADOLFO TORRES, ERIC J. DEVAUL, RUI'
PATRICO, STEPHANIE M. MANUS, I\CELV]N P. WASHINGTON, ROBERT W.
HARRIGILL, RICHARD WAYNE GILL, MICHAEL STEPHEN EYES, BEN F. MILLER,
FELICE R. LEE, JANET GONZALEZ, DAVID A. BOEHM, PATRICK WILLIAM
MORRISEY, JIMMIE DEAN HOBBY, ROBERT E. JARVIS JR., CARLOS L. RUIZ,
MATTHEW J. MIHM, GREGORY T. MITCHELL, DAVID MCINTURFF, EDWARD POPE,
ROBERT L. CROUCH, DAVID EDWARD DUPONT, MICHAEL S. CROSS, LAURIE A.
WILLIAMS, WELLAM MICHAEL SHOGRAN, MICHAEL C. TRANSUE, ALVARO
ATILIO FEOLA, FAREED SHAWQI SALEH, FRANNY MAURANCY, KIMBERLY RENEE
NEWSOME, MICHAEL JOSEPH FOTL RAMON FERNANDEZ JR., DAVH) FRYE, EDLYN
ROZSA, LESLEY MARIE HOLT, MARY A. KELLENBERGER, MICHAEL `VINCENT
OPORTO, PAMELA J. WYATT, JORGE J. DIAZ, KELLY M. HILDRETH, WILLIAM CAPP,
DAV]DJOHN GROSS, GARY GRUNFELDER, GREG ARTHUR HERMANCE, JANYRES
VASQUEZ, JANICE SOTO, LEONARD GERVASIO, SHERRY D. KINDALL, MARK
RUSSELL DeBORD, P. NOAH CAMERON, SEAN KELLY, DANIEL GILROY,WILLIAM C.
CASH, SCO'I"I` MITCHELL ELLIOTT, ANDREW BARTUCCELLI, PAUL VINCENT
VOUTOUR, KEVIN L. HAUFFMASTER, RICHARD SESSIONS, PAUL S. PRUETT, JASON
WILLIAM RILEY, GEORGE GROSE, SCOTT BUNDY, ANGELO J. MINELLA, CEDRIC
GUY HUMPRHEY, DALE K. HOWARD, DAVID MICHAEL WILLIAM WILSON, EDGAR
DAV]D HOLCOMB, EUGENE ARNOLD HOOVER, GARY RICHARD BACH, GEORGE Ac
HERRSCHAFT, GEORGE DANIEL YACOBELLIS, GEORGE W. BECKWITH III, JAMES J,

WARREN, JAMES RICHARD PIATAK, KENNETH SHERROD PICKERING, LAUREN

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KATHLEEN HINES, LESLIE A. BEATH, MARY J. ELLER, MICHAEL JOSEPH
DOUGHERTY, MICHELLE ELAINE HOLCOMB, PHILLIP J. OATES IH, ROBERT L.
PRYOR, ROBERT PIERCE, SHAWN PATRICK FLEMING, STEPHEN EDWARD
WINEGARD II, THOM_AS A. RANDAZZO, THOMAS ARTHUR CUTY, TODD BAINER,
TRAVIS ARNOLD DYKES, DENN[S LOYD DAVIS, MICHAEL ALAN GUITIERREZ,
DAVID R. DRENNAN, EDGAR L. JOHNSTON JR., SAMUEL L. GAM, THOMAS P.
BOWMAN, DALE R. LA FLAM, DAVID MCKINNON, WILLIAM DEBUSK, BARBARA E.
WEISS, MATHEW BORUT, KENNETH G. JENKINS, JIM DILLON, CURTIS HAMPTON,
ANTHONY ROMANI, CALVIN KING, CHRISTOPHER KNEIDEL, COSTONYA SHANE
FREEMAN, DAVID BUTTERWORTH, IERRY ROBERTS II, J()RGE CARVAJAL,
MATTHEW JAMES WOOD, MIHELLE NEILD, ROBERT DANIEL VOEGTLIN, REGGIE
WITTEY, CRAIG ORTl\/lAN, DAVID SMITH, HEATHER TUCKER, JENNIFER L.
WATERS, LELAND SQUIR_ES, PATRICIA BECKER, SERGIO LOPEZ ALERS, VINCENT
BONAGURA, WILLIAM F. MILLER, KYLE BENJAMIN KUEHN, ALACHUA COUNTY,
CITY OF BRADENTON, BREVARD COUNTY, BROWARD COUNTY, CITY OF FORT
LAUDERDALE, CITY OF PORT PIERCE, CITY OF HOLLYWOOD, TOWN OF
INDIALANTIC, INDIAN RIVER COUNTY, JACKSONVILLE COUNTY, JEFFERSON
COUNTY, LAFAYETTE COUNTY, CITY OF LAUDERHILL, LEON CGUNTY, MANATEE
COUNTY, MARTIN COUNTY, CITY OF MIRAMAR, MONROE COUNTY, NORTH BAY
VILLAGE, OKALOOSA COUNTY, OKEECHOBEE COUNTY, CITY OF ORLANDO, CITY
OF PALM BAY, PALM BEACH COUNTY, CITY OF PALM BEACH GARDENS,
PINELLAS C()UNTY, CITY OF PLANTATION, CITY OF PORT SAINT LUCIE, SAINT

LUCIE CGUNTY, CITY OF VERO BEACH, and UNKNOWN DEFENDANTS, as folloWS:

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I. NATURE OF THE CASE

 

l. This is an action for injunctive relief and money damages brought under 42
U.S.C. § 1983; the Driver’s Privacy Protection Act of 1994, 18 U.S.C. §§ 2721-2725 (“Driver’s
Privacy Protection Act”); the Fourth Amendment; and the Fourteenth Amendment.

2. The gravamen of the claims under the statutory provisions cited above is that
Florida law enforcement officers, Without legal authorization or justification, accessed Plaintit`t"s
confidential records more than five-hundred (500) times from 2003 to the present time; and,
upon information and belief, conducted additional unauthorized and illegal searches prior to that
time period As a result of these searches, Plaintiff has been harassed and has suffered physical
and emotional harm, for Which Plaintiff seeks declaratory, injunctive and monetary relief.

II. PARTIES
3. Plaintiff, Orshowitz, is an individual residing in Palm City, Florida.

Martin County Sherif_t"s Office (“MCSO”)

4. Defendant, Robert Crowder, upon information and beliet`, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Sheriff of the MCSO.

5. Defendant, George Grose, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the MC SO.

6. Defendant, Scott Bundy, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee

of the MCSO.

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7. Defendant, Angelo J. Minella, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the MCSO.

8. Defendant, Cedric Guy Humprhey, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

9. Defendant, Dale K. Howard, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the MCSO.

lO. Defendant, David Michael William Wilson, upon information and belief is and at
all relevant times has been a citizen of the United States and a resident of the State of Florida,
and has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

ll. Defendant, Edgar David Holcornb, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
oft`icer, or employee of the MCSO.

12. Defendant, Eugene Arnold Hoover, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and

has acted both in his individual capacity and in his official capacity as a supervisor, deputy,

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officer, or employee of the MCSO.

l3. Defendant, Gary Richard Bach, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the MCSO.

l4. Defendant, George A. Herrschaft, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

15. Defendant, George Daniel Yacobellis, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

16. Defendant, George W. Beckwith lll, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

17. Defendant, James J. Warren, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the MCSO.

l8. Defendant, lames Richard Piatak, upon information and belief, is and at all

relevant times has been a citizen of the United States and a resident of the State of Florida, and

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has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

19. Defendant, Kenneth Sherrod Pickering, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

20. Defendant, Leslie A. Beath, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the l\/ICSO.

21. Defendant, Lauren Kathleen Hines, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in her individual capacity and in her official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

22. Defendant, l\/lary J. Eller, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the MCSO.

23. Defendant, Michael Joseph Dougherty, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

24. Defendant, Phillip J. Oates III, upon information and belief, is and at all relevant

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times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the MCSO.

25. Defendant, Michelle Elaine Holcomb, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in her individual capacity and in her official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

26. Defendant, Robert L. Pryor, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the MCSO.

27. Defendant, Robert Pierce, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the MCSO.

28. Defendant, Shawn Patrick Fleming, upon information and belief, is and, at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

29. Defendant, Stephen Edward Winegard Il, upon information and belief, is and at
all relevant times has been a citizen of the United States and a resident of the State of Florida,
and has acted both in his individual capacity and in his official capacity as a supervisor, deputy,

officer, or employee of the MCSO.

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30. Defendant, Thomas A. Randazzo, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

31. Defendant, Thomas Arthur Cuty, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the MCSO.

32. Defendant, T odd Bainer, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the MCSO.

33. Defendant, Travis Arnol.d Dyl<es, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as supervisor, deputy,
officer, or employee of the MCSO.

Brevard County Sheriff’s Office

34. Defendant, lack Parker, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as Sheriff of Brevard County.

35. Defendant:, Brett Lockhart, upon information and belief, is and, at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or

employee of the Brevard County Sherif`F s Office.

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Broward County Sheriff Oft“lce

36. Defendant, Al Lamberty, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as Sheriff of the Broward County Sheriff’ s
Office.

37. Defendant, Doug Lashbrook, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, ofticer, or
employee of the Broward County Sheriff’s Office.

38. Defendant, Michael Allen Menghi, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the Broward County Slieiiffs Office.

39. Defendant, Michael Weiner, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the Broward County Sheriff’ s Office.

40. Defendant, Mohammad Razi, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the Broward County Sheriff’ s Oftice.

4l. Defendant, Scott Mueller, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both

in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee

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of the Brovvard County Sheriff’ s Offlce.

42. Defendant, Scott Whittom, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the Broward County Sheriff’ s Oftice.

43. Defendant, Thomas E. Demerritte, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the Broward County Sheriff’s Office.

44. Defendant, William Alan O’Hara, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the Broward County Sheriff’ s Oftice.

45. Defendant, William Hawley, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the Brovvard County Sheriff’ s Office.

Bradenton Police Department

46. Defendant, Micahel Radzilovvski, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as Chief of Bradenton Police
Department.

47. Defendant, l\/lichael J. Sl<oumal, upon information and belief, is and at all relevant

times has been a citizen of the United States and a resident of the State of Florida, and has acted

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both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Chief of Bradenton Police Department.

Florida Department of Corrections, Of`fice Of Community Corrections

48. Defendant, lenny Nimer, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in her official capacity as Assistant Secretary of the Ofiiee of
Community Corrections.

49. Defendant, Marl< D. Alston, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the Department of Corrections, Of`fice of Community Corrections.

50. Defendant, Pat S. Chuaindhara, upon information and belief, is and at all relevant
times has been, a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the Department of Corrections, Office of Community Corrections.

51. Defendant, Roy Gardien, upon information and belief, is and at all relevant times
has been, a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the Departinent of Corrections, Office of Community Corrections.

Florida Department of Highway Safety and Motor Vehicles (“DHSMV”)

52. Defendant, lulie L. Jones (“Defendant Jones”), upon information and belief, is
and at all relevant times has been a citizen of the United States and a resident of the State of
Florida, and has acted both in her individual capacity and in her official capacity as an Executive

Director of the DHSMV.

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53. Defendant, Fred O. Dickinson, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as an Executive Director of the
DHSMV.

54. Defendant, Electra Theodorides~Bustle, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in her individual capacity and in her official capacity as an Executive Director of
the DHSMV.

55. Defendant, Erik B. Hellstrom, upon information and belief, is and, at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Major and commander of Troop C-
Land O’Lakes.

56. Defendant, Justin C. Asbury, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop D - Deland.

57. Defendant, Scott B. Keith, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, ofticer, or
employee of the DHSl\/I.V, Troop D - Deland.

58. Defendant, Eugene Brevver, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted

both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or

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employee of the DHSMV, Troop D - Orange Osceola.

59. Defendant, Eugene Hoover, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, ofticer, or
employee of the DHSMV, Troop D - Grange Osceola.

60. Defendant, Jef`frey Bissainthe, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DI~ISMV, Troop D »~ Orange GSceola.

6l. Defendant, Eugene Brewer, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Plorida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop D - Orange Osceola.

62. Defendant, James E. Gilbert, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop D ~ Orlando.

63. Def`endant, Jay Anthony Fraioli, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, ofticer, or
employee of the DHSMV, Troop E ~ Miami.

64. Defendant, l\/Ianuel Jirnenez, upon information and belief, is and at all relevant

times has been a citizen of the United States and a resident of the State of Florida, and has acted

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both in his individual capacity and in his official capacity as a supervisor, deputy, ofticer, or
employee of the DHSMV, Troop E ~ Miami.

65. Defendant, Susan M. Josephson, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in her individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop E - Miami.

66. Defendant, Adam l\/l. Heinlein, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop F ~ Ft. Myers.

67. Defendant, fran Sandoval, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the DHSMV, Troop F ~ Ft. Myers.

68. Defendant, Melanie A. Thompson, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in her individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop F - Ft. Myers.

69. Defendant, Quatelious Mosley, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, ofticer, or
employee of the DHSMV, Troop F - Ft. Myers.

70. Defendant, Kenneth Green, upon information and belief, is and at all relevant

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times has been a citizen of the United States and a resident of the State of Flon`da, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop G ~ Duval~Nassau.

7l. Defendant, Ronald Gene Cooper, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop G ~ Duval-Nassau.

72. Defendant, Elmo R. Williams, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop G »~ St. Augustine.

73. Defendant, Karen Hovvard, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop G ~ St. Augustine.

74. Defendant, Steven R. Howard, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop G - St. Augustine.

75. Defendant, Eric J. Laks, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee

of the DHSMV, Troop K - Miami.

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76. Defendant, Jessica Fuentes, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSl\/f\/', Troop .K ~ Miami.

77. Defendant, Jesus Hernandez, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - Miami.

78. Defendant, Michelle A. Truyol, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K ~ Miami.

79. Defendant, Scott Edward Hull, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Flon'da, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K -»~ l\/liami.

80. Defendant, Thomas D. Flickinger, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
ofticer, or employee of the DHSMV, Troop K - Miami.

81. Defendant, Charles C. Grant, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted

both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or

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employee of the DHSMV, Troop K ~* Orlando.

82. Defendant, Marcus R. Brown, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - Orlando.

83. Defendant, Robert V. Freebern, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K ~ Orlando.

84. Defendant, Thomas W. Hansen, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - Orlando.

85. Defendant, David A. Sims, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K ~ West Palm.

86. Defendant, Debra Senecal, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - West Palm.

87. Defendant, Gregory L. Shuman, upon information and belief, is and at all relevant

times has been a citizen of the United States and a resident of the State of Florida, and has acted

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both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - West Palm.

88. Defendant, Joseph A. Fabiano, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - West Palm.

89. Defendant, Joseph R.. Ruggeri, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K ~ West Palm.

90. Defendant, David A. Sims, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K ~ West Palm.

91. Defendant, Marcos A. Capo, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K ~ West Palm.

92. Defendant, Marilyn Serrano, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K »~ West Palm.

93. Defendant, Mark Thomas McGlynn, upon information and belief, is and at all

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relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop K ~ West Palm.

94. Defendant, Meridith L. Jacobs, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - West Palm.

95. Defendant, Odileinis Gibson, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K m West Palm.

96. Defendant, Randall D. Krauss, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - West Palm.

97. Defendant, Robert A. Boody IH, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop K ~ West Palm.

98. Defendant, Rudy Regis, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee

of the DHSMV, Troop K ~ West Palm.

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99. Defendant, Ryan W. Lloyd, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K ~ West Palm.

lOO. Defendant, 'l`ommy Rodriguez, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K ~ West Palm.

lOl. Defendant, Tony Ray Kingery, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - West Palm.

102. Defendant, William Thomas Godwin, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop K ~ West Palm.

103. Defendant, Adolfo Torres, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop L ~ Davie.

104. Defendant, Eric J. Devaul, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted

both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or

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employee of the DHSMV, Troop L - West Palm.

105. Defendant, Rui Patricio, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the DHSMV, Troop L » West Palm.

106. Defendant, Stephanie l\/i. Manus, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in her individual capacity and in her official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop L ~ West Palm.

107. Defendant, Melvin P. Washington, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Investigations.

108. Defendant, Robert W. Harn`gill, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop A - Pensacola.

109. Defendant, Richard Wayne Gill, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, ofticer, or
employee of the DHSMV, Troop B ~ Lal<e City.

llO. Defendant, Michael Stephen Eyes, upon information and belief, is and at all

relevant times has been a citizen of the United States and a resident of the State of Florida, and

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has acted both in his individual capacity and in his official capacity as a Supervisor, deputy,
officer, or employee ofthe DHSMV, Troop C-Land O’Lakes.

ll l. Defendant, Ben F. Miller, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the DHSMV, Troop C-Tampa.

llZ. Defendant, Felice R. Lee, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop C~Tampa.

ll3. Defendant, Janet Gonzalez, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of` the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop C-Tampa.

ll4. Defendant, David A. Boehm, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop D-Cocoa.

ll$. Defendant, Patrick William Morrissey, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop D~Deland.

116. Defendant, Jimmie Dean Hobby, upon information and belief, is and at all

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relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop D - Orlando.

ll7. Defendant, Robert E. Jarvis lr., upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop D - Orlando.

118. Defendant, Carlos L, Ruiz, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop E - Miami.

119. Defendant, Matthevv J. Mihm, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop E ~ Miami.

12(). Defendant, Gregory T. Mitchell, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop F ~ Bradenton-Manatee Hardee DeSoto and Highland.

121. Defendant, David Mc.lnturff, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or

employee of the DHSMV, Troop F - Ft. Myers.

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122. Defendant, Edward Pope, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the DHSMV, Troop F - Ft. Myers.

123. Defendant, Robert L. Crouch, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop F - Ft. Myers.

124. Defendant, David Edward DuPont, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop G -~ St. Augustine.

125. Defendant, Michael S. Cross, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop H ~ Tallahassee.

126. Defendant, Laurie A. Williams, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K ~ Miami.

127. Defendant, William l\/fichael Shogran, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and

has acted both in his individual capacity and in his official capacity as a supervisor, deputy,

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officer, or employee of the DHSMV, Troop K - Miami.

128. Defendant, Michael C. Transue, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSl\/IV, Troop K - Orlando.

129. Defendant, Alvaro Atilio Feola, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - West Palm.

130. Defendant, Fareed Shawqi Saleh, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Flcrida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop K ~ West Palm.

l3l. Defendant, Franny Maurancy, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop K - West Palm.

132. Defendant, .Kimberly Renee Newsome, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in her individual capacity and in her official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop K - West Palm.

l33. Defendant, Michael Joseph Foti, upon information and belief, is and at all

relevant times has been a citizen of the United States and a resident of the State of Florida, and

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has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop K ~ West Palm.

134. Defendant, Ramon Fernandez Jr., upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop K - West Palm.

135. Defendant, David Frye, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the DHSMV, Troop L - West Palm.

136. Defendant, Edlyn Rozsa, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop L ~ West Palm.

137. Defendant, Lesley Marie Holt, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop L ~ West Palm.

138. Defendant, Mary A. Kellenberger, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in her individual capacity and in her official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop L »~ West Palm.

139. Defendant, Michael Vincent Oporto, upon information and belief, is and at all

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relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a supervisor, deputy,
officer, or employee of the DHSMV, Troop L - West Palm.

140. Defendant, Pamela J. Wyatt, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, 'l`roop L v West Palm.

l4l. Defendant, Jorge J. Diaz, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the DHSMV, Troop Q lnvestigations.

142. Defendant, Kelly M, Hildreth, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a supervisor, deputy, officer, or
employee of the DHSMV, Troop Q Investigations.

143. Defendant, William Capp, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a supervisor, deputy, officer, or employee
of the DHSMV, Troop Q lnvestigations.

Florida Department of Law Enforcement (“FDLE”)

144. Defendant, Gerald M. Bailey (“Defendant Bailey”), upon information and belief,
is and at all relevant times has been a citizen of the United States and a resident of the State of
Plorida, and has acted both in his individual capacity and in his official capacity as a

Commissioner of the FDLE.

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145. Defendant, David John Gross, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a supervisor, deputy, officer, or
employee of the FDLE.

Alachua County Sherifi’s Oii“rce

l46. Defendant, Sadie Damell, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as Sheriff of the Alachua County Sheriff’s
Ofiice.

147. Defendant, Corey James Warren, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a deputy, employee, agent,
or representative of the Alachua County Sheriff’s Oftice.

Indian River County Sheriff’s ()ffice

148. Defendant, Deryl B. Loar, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as Sheriff of lndian River County Sheriff’ s
Office.

149. Defendant, Andrevv Bartuccelli, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Indian River County Sheriff’s Oftice.

Florida Department of Transportation, Motor Carrier Compliance

150. Defendant, Colonel David Dees, upon information and belief, is and at all

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relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as Director of Motor Cariier
Compliance oftice,

151. Defendant, Colonel Graham W. Fountain, upon information and belief, is and at
all relevant times has been a citizen of the United States and a resident of the State of Florida,
and has acted both in his individual capacity and in his official capacity as a Director of Motor
Carrier Compliance office

152. Defendant, Gary Grunfelder, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Florida Department of Transportation.

153. Defendant, Greg Arthur Hermance, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a deputy, employee, agent,
or representative of the Florida Department of Transportation.

154. Defendant, Janyres Vasquez, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Florida Department of Transportation.

Florida Fish and Wildlife Conservation Commission

155. Defendant, Colonel Jarnes Brown, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as an Executive Director of

the Florida Fish and Wildlife Conservation Commission.

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l56. Defendant, Colonel Julie L. lones, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in her individual capacity and in her official capacity as an Executive Director of
the Florida Fish and Wildlife Conservation Commission.

157. Defendant, Janice Soto, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in her individual capacity and in her official capacity as a deputy, employee, agent, or
representative of the Florida Fish and Wildlife Conservation Commission.

158. Defendant, Leonard Gervasio, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Florida Fish and Wildlife Conseivation Commission.

159. Defendant, Sherry D. Kindall, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in her individual capacity and in her official capacity as a deputy, employee, agent, or
representative of the Florida Fish and Wildlife Conservation Commission.

Fort Pierce Police Department

16(). Defendant, R. Sean Baldvvin, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Chief of the Fort Pierce Police
Department.

161. Defendant, Daniel Gilroy, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both

in his individual capacity and in his official capacity as Chief of the lion Pierce Police

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Department.
Hollywood Police Department

162. Defendant, Chadwick E. Wagner, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as interim Chief of the
Hollywood Police Department.

163. Defendant, William C. Cash, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Hollywood Police Department.

Indialantic Police Department

164. Defendant, Troy W. Morris, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Chief of the lndialantic Police
Department.

165. Defendant, Scott l\/litchell Elliott, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a deputy, employee, agent,
or representative of the lndialantic Police Department.

Jacksonville Sheriff’s Ofiice

l66. Defendant, John M. Rutherford, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of F lorida, and has acted
both in his individual capacity and in his official capacity as Sheriff of the Jacksonville Sherif`f’ s

Office.

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167. Defendant, Paul Vincent Voutour, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a deputy, employee, agent,
or representative of the Jac.ksonville Sherift’ s Ofiice.

Jefferson County Sherifi"s Office

l68. Defendant, David Hobbs, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as Sheriff of the Jefferson County SherifF s
Oftice.

l69. Defendant, Kevin L. Huffmaster, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a deputy, employee, agent,
or representative of the Jefferson Sheriff’ s Office.

Lafayette County Sheriff’s Ofiice

l70. Defendant, Brian N. Lamb, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Sheriff of the Lafayette County
Sheriff’s Office.

Lauderhill Police Department

l7l. Defendant, Kenneth Pachnek, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Chief of the Lauderhill Police
Department.

172. Defendant, Richard Sessions, upon information and belief, is and at all relevant

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times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Lauderhill Police Department.

Leon County Sherifi"s Office

173. Defendant, Larry Campbell, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Sheriff of the Leon County Sheriff’ s
Ofiice.

174. Defendant, Paul S. Pruett, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of Florida, and has acted both
in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Leon County Sheriff’ s Office.

Manatee County Sheriff’s ().ffice

175. Defendant, W. Brad Steube, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Sheriff of the Manatee County
Sheriff’ s Office.

176. Defendant, lason William Rilley, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a deputy, employee, agent,
or representative of the Manatee County Sheriff’ s Office.

Miramar Police Department

l77. Defendant, Keith F. Dunn, upon information and belief, is and at all relevant

times has been a citizen of the United States and a resident of the State of Florida, and has acted

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both in his individual capacity and in his official capacity as Chief of the Miramar Police
Department.

178. Defendant, Dennis Loyd Davis, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Miramar Police Department.

l79. Defendant, Michael Alan Gutierrez, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a deputy, employee, agent,
or representative of the Miramar Police Department.

Monroe County Sheriff’s Ofiice

180. Defendant, Robert P. Peryam, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Sheriff of the Monroe County
Shen'ff’ s Office.

lSl. Defendant, Davis R. Drennan, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the Monroe County Sheriff’ s Office.

182. Defendant, Edgar L. Johnston Jr., upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a deputy, employee, agent,

or representative of the Monroe County Sheriff’ s Office.

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North Bay Village Police Department

l83. Defendant, Robert Daniels, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Chief of the North Bay Village
Police Department.

184. Defendant, Samuel L. Gam, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as a deputy, employee, agent, or
representative of the North Bay Village Police Department.

Okaloosa County Sherifi”s Office

185. Defendant, Larry R. Ashley, upon information and belief, is and at all relevant
times has been a citizen of the United States and a resident of the State of Florida, and has acted
both in his individual capacity and in his official capacity as Sheriff of the Okaloosa County
Sheriff’ s Office.

186. Defendant, Thomas P. Bowman, upon information and belief, is and at all
relevant times has been a citizen of the United States and a resident of the State of Florida, and
has acted both in his individual capacity and in his official capacity as a deputy, employee, agent,
or representative of the Okaloosa County Sheriff’ s Office.

Okeechobee County Sheriff’s Office

187. Defendant, Paul C. May, upon information and belief, is and at all relevant times
has been a citizen of the United States and a resident of the State of l'€"lorida, and has acted both
in his individual capacity and in his official capacity as Sheriff of the Okeechobee County
Sheriff’ s Office.

188. Defendant, Dale R. La Flam, upon information and belief, is and at all relevant

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TBakkedahl@SAOl§.org

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uiones@»\am\,asvma.wg

cindy,dvdar@cityo|‘brademon,com

records@ bcso.us

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maynrandau@m»e.mre.n.»s

Lee
¢eeczswe?l@nhs mvgov

iennlfer.wiw i@myfm:.o)m

Miracoi\a
kmarac:m a@ tortla\mrdalz.gnv

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iiice.mo"is @jaxsheriff.o!g

wit§sjc@'f|c§n. net

mndyg @i`lq'n_net

wgc¢don@iaudemm-N.gov

lanna

ridwardsonj@leoncountvf|.gm

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GNEF.PGC@manaleeshe¢iff.com

meader@sheriti.sv\artlnl|lus

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db|ad¢waod@sherincka|oosa,m~g

curry
ctmry@okeeshe¢itt.org

pseph.gamri@myermanaam
DEI‘\

paulld@pb"-Ofs

skultetys@pbso.org

Judy emma
jbrandt @pbgfl.mm

lspice¢@pmonm.mm

lohn
imvly@psd.ptamaaon.mg

kim.reisinger@ci!yofpsl.mm

 

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larry wiener
mos\e\im@suudesheriw.m\

bridgesj@s!lucie:he¢iii.com

perkinsk@flcm.uts.org

steve spencer
swencer@vbpd,org

 

"the: AN questions as m who of why your record was inquired on shedd be cfrected to die appropriate agency contact listed above the agency queries. Any reflections on this report have been at the request the inquiring agency per sworn 119.011{1}(¢), norida Stamtes. DMSMV is not at
tiberty w discuss this funlrer.

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